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                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 COLLIN BOGLE,

         Plaintiff,                                          Case No.: 1:24-cv-00574

 v.                                                          Judge Sara L. Ellis

 THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Young B. Kim
 ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

         Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                 83                                     CF Clothes
                 53                                     CHMORA
                 54                                  CZ TRADE Co.Ltd
                 10                                      XHILL


DATED: March 28, 2024                                Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     33 W. Jackson Blvd., #2W
                                                     Chicago, Illinois 60604
                                                     Telephone:312-971-6752
                                                     E-mail: keith@vogtip.com

                                                     ATTORNEY FOR PLAINTIFF




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                                CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 28, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt




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